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         EXHIBIT A
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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE

WOLFRAM ARNOLD, et al.,

                       Plaintiffs,
                                               C.A. No. 1:23-cv-528-JLH-CJB
             v.

X CORP. f/k/a TWITTER, INC., et al.

                        Defendant.


              PROPOSED AMICUS BRIEF IN OPPOSITION TO THE
            MAGISTRATE JUDGE’S REPORT AND RECOMMENDATION


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Jessica Pan, Emily Kim, Miguel Andres
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       Emmanuel Cornet, Justine De Caires, Lenn Kindel (f/k/a Grae Kindel), Alexis Camacho,

Jessica Pan, Emily Kim, Miguel Andres Barreto, and Brett Menzies Folkins, on behalf of

themselves and all others similarly situated (collectively “Cornet Plaintiffs”) respectfully submit

this proposed amicus brief in opposition to the Magistrate Judge’s Report and

Recommendations.

       In his Report and Recommendations, the Magistrate Judge recommended dismissal of

Plaintiffs’ claim that they, who are former Twitter employees, were third-party beneficiaries

under the Merger Agreement signed by Twitter and Elon Musk (and/or his corporate entities) in

order for Mr. Musk to purchase Twitter. (Dkt. 110 at 10-18.) However, the Cornet Plaintiffs

have direct authority on point that contradicts the Magistrate Judge’s conclusion that no

reasonable factfinder could conclude that Twitter employees were third-party beneficiaries to the

Merger Agreement. That authority shows that several weeks ago, on November 22, 2024, an

arbitrator found




                       (attached here as Exhibit 1).

       To that end, the arbitrator explicitly found that




          Moreover, the arbitrator found that,




                                                 . The Cornet Plaintiffs assert that
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                            and neither Twitter, nor the Magistrate Judge, explain the meaning of

Section 6.9(a) if employees are unable to enforce the severance rights contained within it.

       Finally, it is important to note that the arbitrator issued his decision with the benefit of a

full arbitration hearing in which the claimant and Twitter both presented extensive evidence and

vigorously argued their positions. In contrast, the Magistrate Judge issued his Report and

Recommendations at the motion to dismiss stage before the record was fully developed and

without even holding oral argument. As such, given the seemingly conflicting language in the

Merger Agreement, the arbitrator was in a better position to assess the parties’ intent with respect

to whether employees were intended to be third-party beneficiaries under the Merger Agreement.

       Thus, the arbitrator’s decision             shows why the Magistrate Judge’s report and

recommendation should not be adopted. In recommending dismissal of the breach of contract

claim based upon the Merger Agreement, the Magistrate Judge determined that no reasonable

factfinder could conclude that Twitter employees were third party beneficiaries to the Merger

Agreement. The              decision shows that conclusion is not correct.




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                                         CONCLUSION

       Wherefore, based on the           decision, the Cornet Plaintiffs respectfully request that

the Court overrule and decline to adopt the Magistrate Judge’s Report and Recommendations

with respect to Counts I and II of the Complaint. 1


Dated: December 19, 2024                      Respectfully submitted,

                                              EMMANUEL CORNET, JUSTINE DE
                                              CAIRES, GRAE KINDEL, ALEXIS
                                              CAMACHO, JESSICA PAN, EMILY KIM,
                                              MIGUEL BARRETO, and BRETT
                                              MENZIES FOLKINS, on behalf of
                                              themselves and all others similarly situated,

                                              By their attorneys,

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1
        As noted in their Motion to Intervene, the Cornet Plaintiffs’ counsel have also obtained
other rulings in arbitration

                                                                             . See Cornet, Dkt. 98.
Thus, if Twitter objects to the Magistrate Judge’s recommendation not to dismiss the Plaintiffs’
other claims, the Cornet Plaintiffs request that the Court review the Notice of Supplemental
Authority they filed in their own case. Id.
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                               CERTIFICATE OF SERVICE

       I, Kate Butler, hereby certify that a true and accurate copy of this document was served

on all counsel of record via the CM/ECF system on December 19, 2024.


                                            /s/ Kate Butler
                                            Kate Butler
